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     VIII. VENUE:      Your answers to the questions below will determine the division of the Court to which this case will be Initially assigned. This initial assignment ls subject
     to change, In accordance with t he courts
                                             ' GeneraIorders, upon review
                                                                      · by the Court of your Complaint or Notice of Removal

      QUESTION A: Was this case removed                                                                                                                                                                                                        '
                                                                                           STATE CASE WAS PENDING IN THE COUNTY OF:                                                                   INmAL DMSION IN CACD IS:
      from state court?
                          D       Yes IE] No
                                                                        Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                                                                    Western
                                                                    D
       If "no, • skip to Question B. If "yes; check the
                                                                                                                                                                                                                   Southern
       box to the right that applies, enter the                     D   Orange
       corresponding division in response to
        Question E, below, and continue from there.
                                                                    O   Riverside or San Bernardino                                                                                                                Eastern
                                                                                                                                                                                           .                                          •• ~< '"(:I'"
                                                                                                                                                                                                                                          . . ·'.t
       QUESTION B: Is the United States, or B,1. Do 50% or more of the defendants who reside in                                                                     YES. Your case will initially be assigned to the Southern Division.
                                            the district reside in Orange Co.?
       one of Its agencies or employees, a                                                                                                                    D     Enter "Southern" In response to Question E, below, and continue
       PLAINTIFF In this adlon?                                                                                                                                     from there.
                                                                    check one of the boxes to the right
                          O       Yes        IE] No                                                                                                                 NO. Continue to Question B.2.

                                                                    B.2. Do 50% or more of the defendants who reside in                                             YES. Your case will initially be assigned to the Eastern Division.
        If "no, • skip to Question C. If "yes," answer              the district reside in Riverside and/or San Bernardino                                          Enter "Eastern" in response to Question E, below, and continue
        Question B.1, at right.                                     Counties? (Consider the two counties together.)                                                 from there.

                                                                    check one of the boxes to the right                                                             NO. Your case will initially be assigned to the Western Division.

I                               -                                                ,,.
                                                                                                                                                                    Enter "Western• in response to Question E, below, and continue
                                                                                                                                                                    from there.
                                                                                                                                                                                                                     -·
'                 -                                                                    .

        QUESTIONC: Is the United States, or C.1. Do 50% or more of the plaintiffs who reside in the
                                            district reside In Orange Co.?
                                                                                                                                                                    YES. Your case will initially be assigned to the Southern Division.
        one of Its agencies or employees, a                                                                                                                         Enter "Southern" in response to Question E, below, and continue
        DEFENDANT In this adlon?                                                                                                                                    from there.
                                                                    check one of the boxes to the right
                                   Yes IE] No                                                                                                                       NO. Continue to Question C.2.

                                                                     C.2. Do 50% or more of the plaintiffs who reside in the                                        YES. Your case will initially be assigned to the Eastern Division.
        If "no,• skip to Question D. If "yes,• answer                district reside in Riverside and/or San Bernardino                                             Enter "Eastern" in response to Question E, below, and continue
        Question C.1, at right.                                      Counties? (Consider the two counties together.)                                                from there.
I
I                                                                    check one of the boxes to the right
                                                                                                                                                              O
                                                                                                                                                                    NO. Your case will initially be assigned to the Western Division.
                                                                                                                                                                    Enter "Western" in response to Question E, below, and continue
                                                                                       -
I                 -           -    '·'   -                                                               .              ?~\tt1~·        :'f,~-~ i~B. ·"r·/     A.
                                                                                                                                                                    from there.

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I                                                                                                  J.::':.•.~1--< ~.                                                                                            r
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                                                                                                                                                                                     . ~.:.· . . i,..-~,.,.. '(.     .   ~ • Los·Angeles,
                                                                                                                                                                                                                              .,, -.,. '   Ventura,
                                                                                                                                                                                                                                                .   '
        QUESTION D: Location of plaintiffs and defend;1i1~?, - . · .);,                                                                                                                                                                    or.J~ii
                                                                                                                                            .~t:(     Orange,c~,U,_..,,
                                                                                                                                                                  Qty   ......•, '2 ~···...,'. Befha.(sii~o
                                                                                                                                                                                       .                          County 4 ,Santa,Bar!:>ara,
I                                                                               ,.,          .. •. :(

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                                                                                                                                                                                                   ' ·' .. ·. ,,.
                                                                                                                                                                                                                           ".Luis Ol?_ispo County

        Indicate the location(s) in which 50% or more of p/a[ntiffs who reside in this district                                                                                                                                    [8]
        reside. (Check up to two boxes, or leave blank if none of these choices apply.)
        Indicate the location(s) in which 50% or more of defendants who reside in this
        district reside. (Check up to two boxes, or leave blank if none of these choices
        apply.)
                                                                                                                       t,                                                                                                                      ]
              '       .

                              D.1. Is there at least one answer In Column A?                                                                                  D.2. Is there at least one answer In Column B?
                                                      D Yes          18]   No                                                                                                       OYes              [8j    No

                                  If "yes,• your case will initially be assigned to the                                                                             If "yes," your case will initially be assigned to the
                                                    SOUTHERN DIVISION.                                                                                                             EASTERN DIVISION.

            Enter "Southern" In response to Question E, below, and continue from there.                                                                             Enter "Eastern" in response to Question E, below.

                                             If "no,• go to question D2 to the right.                                                                        If "no," your case will be assigned to the WESTERN DIVISION.
                                                                                                                                                                  Enter "Western" in response to Question E, below.                            i
                                                                                      ,,                                           ,.
     QUESTION E: Initial Division?                                                                                                                                             INITIAL DIVISION IN CACO
                               -                                -
    Enter the Initial division determined by Question A, B, C, or D above:                                                    -+                                                               WESTERN

    QUESTION F: Northern Counties?
Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                                                                                          ~Yes            QNo

                                                                                                                            CIVIL COVER SHEET                                                                                       Page2of3
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IX(a). IDENTICAL CASES: Has this action been previously flied In this court?                                                                          NO            0     YES

         If yes, list case number(s):

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously flied In this court?
                                                                                                                                                     NO             0     YES
         If yes, list case number(s):


        Clvll cases are related when they (check all that apply):

               D    A. Arise from the same or a closely related transaction, happening, or event;

               D    B. Call for determination of the same or substantially related or similar questions of law and fact; or

               D    C. For other reasons would entail substantial dupllcatlon of labor if heard by different Judges.

        Note: That cases may involve the same patent, trademark, or copyright Is not, In Itself, sufficient to deem cases related.



        A clvll forfeiture case and a crlmlnal case are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                     C. Involve one or more defendants from the criminal case In common and would entail substantial duplication of
                     labor if heard by different judges. -


X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT): _/s_/_M_ic_ha_e_lJ_._Bi_d_art_ _ _ _ _ _ _ _ _ _ __                                                 DATE: April 21, 2020

Notice to Counsel/Parties: The submission of this Eivll Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071 A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Sult Code        Abbreviation                    Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
        861                        HIA             include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                   (42 U.S.C. -1935FF(b))

        862                        BL              All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
                                                   923)

        863                                        All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
                                   DIWC
                                                   all claims filed for child's insurance benefits based on disability. (42 U.S.C. 40S (g))

         863                       DIWW            All claims•filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
                                                   amended. (42 U.S.C. 405 (g))

         864                        SSID           All claims for supplemental security Income payments based upon disability filed under Titie 16 of the Social Security Act, as
                                                   amended.

         865                        RSI            All cialmsJor retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                   (42 u.s.c. 405 (g))




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